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                                                                                 FILED IN THE
                                                                        UNITED STATES DISTRICT COURT
                                                                             DISTRICT OF HAWAII
                                                                          Mar 26, 2024, 9:32 am
                    IN THE UNITED STATES DISTRICT COURT                   Lucy H. Carrillo, Clerk of Court




                             FOR THE DISTRICT OF HAWAI‘I

   CATHY L. BERMUDEZ,                           Case No. 24-cv-00036-DKW-KJM

                Plaintiff,                      ORDER DISMISSING
                                                DEFENDANTS CKS PRIME
         vs.                                    INVESTMENTS, LLC AND
                                                CONTINENTAL FINANCE
   EQUIFAX INFORMATION SERVICES,                COMPANY, LLC PURSUANT TO
   LLC, et al.,                                 PLAINTIFF’S AS-CONSTRUED
                                                NOTICE OF VOLUNTARY
                Defendants.                     DISMISSAL


        On January 26, 2024, Plaintiff Cathy Bermudez filed a Complaint against

  Defendants Equifax Information Services (“Equifax”), Experian Information

  Solutions (“Experian”), Trans Union, CKS Prime Investments (“CKS Prime”), and

  Continental Finance Company (“Continental”), asserting violations of the Fair

  Credit Reporting Act and the Fair Debt Collection Practices Act arising out of the

  alleged theft of her identity in 2022. Dkt. No. 1. Subsequently, on March 13,

  2024, Bermudez filed a “Request for Rule 41 Dismissal Without Prejudice” as to

  CKS Prime and Continental. Dkt. No. 28. Therein, Bermudez asserted that she,

  CKS Prime, and Continental all “stipulate[] and agree[] . . . that CKS Prime and

  Continental are dismissed without prejudice, with Plaintiff and Defendants to bear

  their own fees and costs.” Id. at 2.
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         Rule 41 of the Federal Rules of Civil Procedure provides that a plaintiff may

  voluntarily dismiss an action without a court order by filing either:

         (i)     a notice of dismissal before the opposing party serves either an
                 answer or a motion for summary judgment; or
         (ii)    a stipulation of dismissal signed by all parties who have
                 appeared.

  Fed. R. Civ. P. 41(a)(1)(A). However, if the opposing party has answered, moved

  for summary judgment, and/or refused to stipulate to dismissal, the action may be

  dismissed “at the plaintiff’s request only by court order [and] on terms that the

  court considers proper.” Fed. R. Civ. P. 41(a)(2).

         Here, it is unclear under which provision of Rule 41 Bermudez brings her

  “request.” Notably, although Bermudez asserts that both CKS Prime and

  Continental stipulate to their dismissal, neither Defendant has appeared, much less

  signed Bermudez’s filing.1 See Dkt. No. 28 at 2. Nevertheless, as neither CKS

  Prime nor Continental have answered or moved for summary judgment, Bermudez

  may dismiss her claims against both Defendants by notice pursuant to Rule

  41(a)(1)(A)(i). 2 As such, the Court construes Bermudez’s “request” for voluntary



  1
    Nor did Trans Union and Experian—the only Defendants who had appeared at the time of
  filing—sign the stipulation. See Dkt. No. 28 at 2; Fed. R. Civ. P. 41(a)(1)(A)(ii) (explaining a
  stipulation of dismissal must be “signed by all parties who have appeared.” (emphasis added)).
  2
    Although Trans Union and Experian have both filed answers, see Dkt. Nos. 20 & 24, this does
  not preclude Bermudez from filing a notice of dismissal as to CKS Prime and Continental. See
  Pedrina v. Chun, 987 F.2d 608, 609 (9th Cir. 1993) (“Rule 41(a)(1) allows a plaintiff to dismiss
  without a court order any defendant who has yet to serve an answer or a motion for summary
  judgment.”).
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  dismissal as notice of the same. Pursuant to Rule 41(a)(1)(A)(i), Bermudez’s

  claims against CKS Prime and Continental are therefore DISMISSED WITHOUT

  PREJUDICE by operation of law. See Com. Space Mgmt. Co., Inc. v. Boeing Co.,

  Inc., 193 F.3d 1074, 1078 (9th Cir. 1999) (“[I]t is beyond debate that a dismissal

  under Rule 41(a)(1) is effective on filing, no court order is required, the parties are

  left as though no action had been brought, the defendant can’t complain, and the

  district court lacks jurisdiction to do anything about it.”); Fed. R. Civ. P.

  41(a)(1)(B) (“Unless the notice or stipulation states otherwise, the dismissal is

  without prejudice.”).

        IT IS SO ORDERED.

        DATED: March 26, 2024 at Honolulu, Hawai‘i.

                                     ___________________________
                                     Derrick K. Watson
                                     Chief United States District Judge




  Cathy L. Bermudez vs. Equifax Information Services, LLC, et al; Civil No. 24-
  00036 DKW-KJM; ORDER DISMISSING DEFENDANTS CKS PRIME
  INVESTMENTS, LLC AND CONTINENTAL FINANCE COMPANY, LLC
  PURSUANT TO PLAINTIFF’S AS-CONSTRUED NOTICE OF
  VOLUNTARY DISMISSAL




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